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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-CV-82296-RUIZ/REINHART


   THERAPEUTICS MD, INC.,

                             Plaintiff,

         v.

   EVOFEM BIOSCIENCES, INC.,

                           Defendant.
   __________________________________/

        REPORT AND RECOMMENDATON ON PARTIES’ MOTIONS FOR
               SUMMARY JUDGMENT (ECF NOS. 112, 128-1)

         Presently before me are Plaintiff’s Motion for Partial Summary Judgment

   (ECF Nos. 128-1) and Defendant’s Motion for Summary Judgment (ECF No. 112),

   which the Honorable Rodolfo A. Ruiz referred to me for a Report and

   Recommendation. ECF No. 191.

         With its motion, Defendant seeks summary judgment in its favor on all six of

   the claims in Plaintiff’s First Amended Complaint (FAC) (ECF No. 37) and on its

   Counterclaim (ECF No. 29 at 9).1 Plaintiff’s motion seeks summary judgment in its


   1  The FAC alleges claims for trademark infringement under 15 U.S.C. §1114 (Count
   I), unfair competition and false designation of origin under 15 U.S.C. § 1125(a) (Count
   II), a violation of Florida’s Deceptive & Unfair Trade Practices Act (FDUPTA) (Count
   III), and a Florida common law claim for trademark infringement and passing off
   (Count IV). ECF No. 37. Counts V and VI seek cancellation of Defendant’s trademark
   under 15 U.S.C. § 1119 and for fraud on the USPTO. Id. Defendant’s counterclaim
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   favor on Defendant’s first, second, and fourth affirmative defenses (ECF No. 110 at

   10-12)2 and Defendant’s counterclaim. I have reviewed the pleadings, motion papers,

   Statements of Material Facts, and attached exhibits.

         These matters are now ripe for decision. For the reasons that follow, I

   recommend that Plaintiff’s motion (ECF No. 128-1) be GRANTED IN PART AND

   DENIED IN PART and that Defendant’s motion (ECF No. 112) be DENIED.

                                     BACKGROUND

         This litigation involves two distinct medical products available to women by

   prescription only. Plaintiff’s product, IMVEXXY, is a dissolvable vaginal insert that

   was approved by the FDA in May 2018 for treatment of vaginal pain during sexual

   intercourse due to menopause. ECF No. 37 at ¶¶ 9, 11. Plaintiff registered the mark

   IMVEXXY with the USPTO on February 7, 2017. Id. at ¶ 12. According to Plaintiff,

   “the IMVEXXY mark evokes a connotation of ‘sexy’ in the context of women’s sexual

   and reproductive health.” Id. at ¶ 15.

         Defendant’s product, PHEXXI, is a vaginal gel that is FDA-approved for the

   prevention of pregnancy. ECF No. 37 at ¶ 98; Exhibit L. Defendant registered its

   PHEXXI mark with the USPTO in November 2020 (the ‘656 Registration). ECF No.




   seeks cancellation of Plaintiff’s trademark registration for abandonment/non-use.
   ECF No. 29 at 12.

   2  The challenged affirmative defenses are for waiver, laches and estoppel (First Aff.
   Def.), invalidity of Plaintiff’s trademark registration due to abandonment (Second Aff.
   Def.), and unclean hands (Fourth Aff. Def.). ECF No. 110 at 11-12. Plaintiff has also
   filed a Motion to Strike Defendant’s Fourth Affirmative Defense. ECF No. 124.
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   37 at ¶ 29.3 According to Plaintiff, PHEXXI also “evokes connotations of sexy.” Id.

   at ¶ 21.

         In the FAC, Plaintiff argues that there is a likelihood of consumer confusion

   between the two marks because the IMVEXXY and PHEXXI marks are “confusingly

   similar in appearance, sound, and overall connotation . . . when used in connection

   with pharmaceutical drugs for women’s sexual and reproductive health.” Id. at ¶¶

   21, 22. Plaintiff contends that “[t]hese similarities in appearance and sound not only

   present the risk that consumers will request the wrong drug and/or doctors will

   prescribe the wrong drug, but also the likelihood that pharmacists may dispense the

   wrong drug.” Id. at ¶ 20. According to Plaintiff, the two products are “closely related,”

   “prescribed by the same physicians . . . [and] prescribed to the same class of patients

   . . .” ECF No. 37 at ¶¶ 40, 42.

         In the FAC, Plaintiff contends that Defendant infringed on its mark “despite

   its awareness of [Plaintiff’s] superior trademark rights,” thus causing Plaintiff

   irreparable harm.     ECF No. 37 at ¶¶ 46, 47.        Plaintiff seeks injunctive relief

   permanently enjoining Defendant from using the PHEXXI mark, an order cancelling

   Defendant’s registration and applications with the USPTO, disgorgement of

   Defendant’s profits from its use of the PHEXXI mark, and an award of monetary

   damages. ECF No. 37 at 26-28.




   3  Defendant subsequently filed trademark applications for stylized designs of the
   PHEXXI mark with the USPTO (the ‘069 Application and the ‘879 Application). ECF
   No. 37 at ¶¶ 30, 31.
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         In its motion for summary judgment, Defendant contends that Plaintiff has

   not established that there is a likelihood of confusion between the two marks and

   therefore judgment should be entered in its favor on Counts I-V of the FAC.

   Defendant further contends that Count VI which seeks cancellation of its trademark

   for PHEXXI should be rejected and that it should prevail on its Counterclaim which

   seeks cancellation of Plaintiff’s trademark for IMVEXXY.

                                  UNDISPUTED FACTS

         PHEXXI is prescribed to women of child-bearing age. Defendant’s Statement

   of Facts (Def. SOF) (ECF No. 125-1) at ¶ 2. IMVEXXY is FDA-approved for women

   who are experiencing symptoms of menopause. Id. at ¶ 3. The packaging that goes

   inside every box of IMVEXXY states that “IMVEXXY is not indicated for use in

   females of reproductive potential.” ECF No. 37, Ex. C at 12.

         Defendant chose the name PHEXXI because it “began with ‘pH,’ which refers

   to the drug’s . . . maintaining a vaginal pH at a level that inhibits the motility of

   sperm . . . it incorporated an ‘XX,’ which symbolizes the female chromosome” (ECF

   No. 125-8 at 4), and because “it rhymes with ‘sexy’” (ECF No. 166-6 at 10). Def. SOF

   at ¶ 13; Plaintiff’s Additional Facts (PAF) ¶ 61.

         Both products are dispensed in pharmacies and each company’s sales

   representatives visit many of the same OB/GYN offices to educate prescribers about

   their drug’s use and to provide sample products for the prescribers to give to patients.

   PAF ¶¶ 65-67, 69. Both products are also directly marketed to patients. PAF ¶ 80.




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   The way the PHEXXI and IMVEXXY marks appear in the marketplace differ in font

   and color. Def. SOF ¶ 22; FAC ¶¶ 10, 25.

         Defendant submitted the PHEXXI mark to the FDA for its approval and the

   FDA conducted a Proprietary Name Review which compared the sound, appearance,

   and product characteristics of PHEXXI and IMVEXXY; the FDA concluded that there

   were “sufficient differences” between the two. ECF No. 125-5. In conducting its

   assessment, the FDA used its Phonetic Orthographic Computer Analysis (POCA)

   software program and gave the PHEXXI/IMVEXXY name pair a score of 59% which

   corresponds to the category of “moderately similar names.” Id. at 19.4 The FDA’s

   threshold for “high similarity” is 70%. Defendant’s Additional Facts (DAF) ¶ 56.

         Defendant’s branding company, The Brand Institute, emailed Defendant in

   November 2019 regarding possible bases for the FDA to reject the PHEXXI name.

   ECF No. 166-4. One reason the email noted was “some concern with the similarity of

   IMVEXXY (already FDA approved) and PHEXXI.” Id. The email explained,

         A POCA screen calculated an ortho similarity of .54 and a phono
         similarity of .64. These scores are well within range of acceptability.
         Again, please note that POCA is one element of a multi-faceted review
         process – however, we do agree that they appear to sound more similar
         than the phono POCA score indicates.

   Id.

         Plaintiff owns a registered trademark for IMVEXXY, which is a distinctive and

   made-up word. PAF ¶¶ 56, 57. During the prosecution of its PHEXXI trademark




   4  Although Plaintiff purports to dispute the way Defendant characterized these facts
   in its SOF, there is no dispute as to the underlying facts themselves.
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   applications with the USPTO, Defendant did not inform the USPTO of Plaintiff’s

   IMVEXXY registration. ECF No. 37 at ¶ 35. Plaintiff contacted Defendant in May

   2020, regarding Plaintiff’s concerns about the likelihood of confusion between the two

   marks. Plaintiff’s SOF ¶ 11; DAF ¶ 62, 63. Plaintiff launched PHEXXI in the

   marketplace on September 8, 2020. Plaintiff’s SOF ¶ 16. Plaintiff filed the instant

   lawsuit on December 14, 2020. ECF No. 1.

                                     DISPUTED FACTS

         Do the products compete and what is the impact of Defendant’s product on
         Plaintiff’s business?

         Defendant argues that the parties’ products treat different medical concerns

   and they are marketed and prescribed to females at vastly different stages of their

   lives. Def. Resp. to PAF ¶ 70. Defendant contends that because of their different

   purposes, the two products are not competing products and there is no evidence of

   confusion (nor likelihood of confusion) by patients, prescribers or pharmacists.

   Plaintiff contends that IMVEXXY and PHEXXI target overlapping female age groups

   and that both products could potentially be prescribed to the same patient. ECF No.

   166-2 at ¶¶ 5, 6, 26; PAF ¶ 70.

         Defendant claims that Plaintiff cannot prove that PHEXXI has had any impact

   on its business or caused lost sales. Def. SOF ¶¶ 17, 18, 28. Plaintiff contends that

   “Evofem’s conduct has harmed and did impact IMVEXXY sales.” Plaintiff’s Response

   to Def. SOF ¶ 28; PAF ¶ 84.




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         Who is the relevant consumer and is there evidence of confusion?

         Defendant’s expert surveyed pharmacists and prescribers and found no

   confusion between the two products. Def. SOF ¶¶ 29-32, 34. Plaintiff contends that

   pharmacists are the “wrong universe for studying likelihood of confusion.” Id.

         Plaintiff’s expert surveyed prescribers and patients and found a net confusion

   rate of approximately 20%. ECF No. 164-2 at 9. Defendant contends that patients

   are not the relevant consumers because “patients do not choose (or write) their own

   prescriptions.” ECF No. 112 at 14.

         Defendant contends that Plaintiff’s witnesses “testified that they were not

   aware of a single instance” of patient confusion (Def. SOF ¶ 33), but Plaintiff counters

   that it has identified over 24 pharmaceutical sales representatives who describe

   instances of confusion by prescribers and their office staff, whom Plaintiff contends

   are also prospective patients. Plaintiff’s Resp. to Def. SOF ¶ 33; PAF ¶ 77. Plaintiff

   has provided sworn declarations and deposition testimony from many of these sales

   reps. ECF Nos.166-20, 166-21, 167-1 through 167-17. According to Defendant, at

   least one of the physicians identified in a sales representative’s declaration as having

   been confused, later denied ever being confused by the two products. Def. SOF ¶ 39,

   ECF No. 125-21. Defendant contends that the sales representatives’ declarations

   describe instances of “momentary, fleeting confusion” (Def. SOF ¶ 42), but Plaintiff

   refutes this claim with two instances where the doctors left the conversation before

   their confusion was corrected. Plaintiff’s Resp. to Def SOF ¶ 42.




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         Defendant’s Intent

         Plaintiff contends that internal emails from Defendant’s employees

   demonstrate concern about the similarity of the names PHEXXI and IMVEXXY, but

   that Defendant chose to use the PHEXXI name anyway. Plaintiff’s SOF ¶ 7; PAF ¶

   60; ECF No. 166-8. Defendant counters that these emails predate the approval of its

   mark by the FDA and USPTO which resolved the issue and alleviated all of

   Defendant’s concerns. Def. Resp. to Plaintiff’s SOF ¶ 7.

         Corrective Advertising Damages

         Defendant contends that Plaintiff does not allege lost sales and only seeks

   corrective advertising damages, which are improper because the two products are not

   direct competitors. Def. SOF ¶¶ 46, 47. Plaintiff counters that Defendant improperly

   attributes its claim regarding no lost sales to Plaintiff’s corporate representative who

   was not designated to give deposition testimony about product sales. Plaintiff’s Resp.

   to Def. SOF ¶ 46.

         Cancellation of Trademarks

         To the extent each side seeks to cancel the other’s trademarks (Count VI of the

   FAC and Defendant’s Counterclaim), they dispute the facts underlying each claim.

   Defendant argues that the claims made in its Statement of Use filed with the USPTO

   are true and that its general counsel believed them to be true when he submitted the

   application. Def. SOF ¶¶ 49, 50. Plaintiff counters that Defendant relies on clinical

   trial of a different drug to support its claim that PHEXXI creates an environment

   inhospitable to certain pathogens and that this is insufficient to render its Statement

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   of Use true. Plaintiff’s Resp. to Def. SOF ¶ 49; PAF ¶¶ 88, 89. Plaintiff further

   contends that Defendant’s general counsel knew the Statement of Use was not

   accurate when he signed it because he testified that the statement included uses that

   were “aspirational” and relied on “R and D goals.” Plaintiff’s Resp. to Def. SOF ¶ 50.

         With regard to Defendant’s Counterclaim that Plaintiff’s trademark for

   IMVEXXY should be cancelled, Defendant contends that Plaintiff’s Statement of Use

   to the USPTO differs from the FDA-approved uses for IMVEXXY because it does not

   treat all the symptoms of vulval vaginal atrophy (VVA). Def. SOF ¶¶ 53-55; Def.

   Resp. to PAF ¶ 87. Plaintiff rejects this claim, arguing that IMVEXXY treats all

   symptoms of VVA. Plaintiff’s SOF ¶ 34, Plaintiff’s Resp. to Def. SOF ¶ 54; PAF ¶ 87.

                                 LEGAL PRINCIPLES

         Motion for Summary Judgment

         The legal standard for summary judgment is well-settled:

         A party may obtain summary judgment “if the movant shows that there
         is no genuine dispute as to any material fact and the movant is entitled
         to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The parties may
         support their positions by citation to the record, including inter alia,
         depositions, documents, affidavits, or declarations. Fed. R. Civ. P. 56(c).
         An issue is genuine if “a reasonable trier of fact could return judgment
         for the non-moving party.” A fact is material if it “might affect the
         outcome of the suit under the governing law.” The Court views the facts
         in the light most favorable to the non-moving party and draws all
         reasonable inferences in its favor.

                      *                    *                   *

         The moving party shoulders the initial burden of showing the absence
         of a genuine issue of material fact. Once this burden is satisfied, “the
         nonmoving party ‘must make a sufficient showing on each essential
         element of the case for which he has the burden of proof.’” Accordingly,
         the non-moving party must produce evidence, going beyond the

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          pleadings, and by its own affidavits, or by depositions, answers to
          interrogatories, and admissions on file, designating specific facts to
          suggest that a reasonable jury could find in his favor.

   Rubenstein v. Fla. Bar, 72 F. Supp. 3d 1298, 1307–08 (S.D. Fla. 2014) (J. Bloom) (citations

   omitted).

          The moving party's burden on a motion for summary judgment
          “depend[s] on whether the legal issues ... are ones on which the movant
          or the non-movant would bear the burden of proof at trial.” Fitzpatrick v.
          City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993). “[F]or issues on which the
          movant would bear the burden of proof at trial, ‘that party must show affirmatively
          the absence of a genuine issue of material fact: it must support its motion with
          credible evidence ... that would entitle it to a directed verdict if not controverted at
          trial.’” Id. (quoting United States v. Four Parcels of Real Prop. in Greene &
          Tuscaloosa Ctys. In State of Ala., 941 F.2d 1428, 1437 (11th Cir. 1991)). “For
          issues, however, on which the non-movant would bear the burden of proof at trial,
          ‘the moving party is not required to support its motion with affidavits or other
          similar material negating the opponent's claim in order to discharge this initial
          responsibility.’” Id. (quoting Four Parcels, 941 F.2d at 1437–38).

   Nunez v. Coloplast Corp., 461 F. Supp. 3d 1260 (S.D. Fla. 2020) (J. Singhal).

          Lanham Act

          Under the Lanham Act, a defendant is liable for infringement if, without

   consent, he uses “in commerce any reproduction, counterfeit, copy or colorable

   imitation of a registered mark” which is “likely to cause confusion, or to cause

   mistake, or to deceive.” 15 U.S.C. § 1114(1)(a). To prevail on a federal trademark

   infringement claim and false designation of origin claims (here, Counts I and II), a

   plaintiff must demonstrate (1) that its mark has priority, and (2) that the defendant’s

   mark is likely to cause consumer confusion. Fla. Int'l Univ. Bd. of Trustees v. Fla.

   Nat. Univ., Inc., 91 F. Supp. 3d 1265, 1274 (S.D. Fla. 2015) (citing Frehling Enters.,




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   Inc. v. Int'l Select Grp., Inc., 192 F.3d 1330, 1335 (11th Cir. 1999)); Custom Mfg. &

   Eng'g, Inc. v. Midway Servs., Inc., 508 F.3d 641, 647 (11th Cir. 2007).5

         The Eleventh Circuit has set forth the following seven factors for courts to

   consider when determining whether or not a likelihood of consumer confusion exists:

   (1) strength of the mark alleged to have been infringed;6 (2) similarity of the infringed

   and infringing marks; (3) similarity of the products the marks represent; (4)

   similarity of the parties’ trade channels and customers; (5) similarity of advertising

   methods; (6) the defendant’s intent; and (7) actual confusion. Savannah Coll. of Art

   & Design, Inc. v. Sportswear, Inc., 983 F.3d 1273, 1280-81 (11th Cir. 2020). Of these

   factors, the strength of the senior mark and evidence of actual confusion are

   considered the most important. Id.

         “Although likelihood of confusion is a question of fact, it may be decided as a

   matter of law.”    Wreal, LLC v. Amazon.com, Inc., No. 14-21385-CIV, 2019 WL

   3890320, at *10 (S.D. Fla. July 26, 2019) (quoting Tana v. Dantanna’s, 611 F.3d 767,

   775 n.7 (11th Cir. 2010)). Summary judgment is proper where no reasonable jury




   5 Notably, the analysis of Florida’s statutory and common law claims of trademark
   infringement and unfair competition (here, Counts III and IV) is “the same as under
   the federal trademark infringement claim.” Gift of Learning Found., Inc. v. TGC, Inc.,
   329 F.3d 792, 802 (11th Cir. 2003).

   6 The stronger the mark, the greater the scope of protection afforded to it. Frehling,
   192 F.3d at 1335. In determining a mark’s strength there are four categories of
   distinctiveness, which provide increasing levels of protection: (1) generic, (2)
   descriptive, (3) suggestive, and (4) arbitrary. Id. These categories are based on the
   relationship between the name and the service or good it describes. Id. An arbitrary
   mark is a “word or phrase that bears no relationship to the product” and it is the
   strongest of the four categories. Id. at 1335–36.
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   could find a likelihood of confusion, even if some of the factors weigh in the plaintiff’s

   favor. Id. “While there is no bright line test to determine the existence of a likelihood

   of consumer confusion, recovery under the Lanham Act requires, at a minimum, ‘that

   confusion, mistake, or deception be likely, not merely possible.’” Wreal, 2019 WL

   3890320, at *10 (quoting Custom Mfg., 508 F.3d at 651)).

                                        DISCUSSION

         A. Defendant’s Motion for Summary Judgment

             1. Counts I-V of the FAC

         At the outset it is undisputed that Plaintiff’s IMVEXXY mark has priority over

   Defendant’s PHEXXI mark. It is also undisputed that IMVEXXY is an arbitrary

   mark, which is the strongest category and thus it is entitled to the highest protection

   (ECF No. 112 at 10, n.2), so the first factor (and one of the two most important factors)

   weighs in Plaintiff’s favor. Thus, I will consider the remaining six factors set forth

   by the Eleventh Circuit for assessing likelihood of confusion.

         Similarity of Marks

         In assessing the similarity of two marks, “the court compares the marks and

   considers the overall impressions that the marks create, including the sound,

   appearance, and manner in which they are used.” Frehling, 192 F.3d at 1337.

   “Similarity of appearance is determined on the basis of the total effect of the

   designation, rather than on a comparison of individual features.” Wreal, at *14

   (quoting Amstar Corp. v. Domino's Pizza, Inc., 615 F.2d 252, 260–61 (5th Cir. 1980)).

   “In evaluating the similarity of marks, [the court] must consider the overall


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   impression created by the marks, including a comparison of the appearance, sound

   and meaning of the marks, as well as the manner in which they are displayed.” E.

   Remy Martin & Co., S.A. v. Shaw-Ross Int'l Imports, Inc., 756 F.2d 1525, 1531 (11th

   Cir. 1985).

         Here, viewing the evidence in the light most favorable to Plaintiff as the non-

   moving party, I find that Plaintiff has put forth sufficient evidence such that a

   reasonable fact finder could find in its favor. Even though each product name has a

   different number of syllables, and the marks use different colors and fonts, the

   evidence demonstrates a strong similarity in the spelling and sound of the marks.

   Defendant concedes that “both marks include the letters ‘XX’ and end in an ‘exy’

   sound.” ECF No. 112 at 10. It is also significant that the FDA’s analysis gave the

   PHEXXI/IMVEXXY name pair a POCA score of 59% which corresponds to the

   category of “moderately similar names” for purposes of “determin[ing] whether a

   name presents a safety concern from a look-alike or sound-alike perspective.” ECF

   No. 125-5 at 12.7 Even though the FDA did not find the names to be “highly similar”

   which requires a score of 70%, a factfinder could consider the 59% rating to be a high




   7 In Kos Pharms., Inc. v. Andrx Corp., the Third Circuit rejected defendant’s claim
   that there could be no confusion under the Lanham Act because “[t]he FDA and the
   USPTO have determined that the marks are not confusingly similar.” Id., 369 F.3d
   700, 714 (3d Cir. 2004). The Court noted that “neither of those proceedings can
   supplant the required Lanham Act analysis [because] the FDA applies a standard
   different . . . review[ing] proposed drug names ‘to predict potential confusion that may
   arise in the actual prescription process.’” Id. (citations omitted).

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   enough score to establish likelihood of confusion for purposes of trademark

   infringement.8

         Moreover, Plaintiff’s expert, Dr. Disner, an experienced linguist, analyzed the

   orthographic and phonetic attributes of IMVEXXY and PHEXXI and opined that the

   marks share numerous similarities, “including (i) similar letters; (ii) similar sounds;

   (iii) similar word stresses; (iv) interchangeability of some of the sounds; (v) unique

   distribution of other sounds (such as -xx-); and (vi) auditory weakness of the first

   syllable – [that] make it difficult to distinguish PHEXXI from IMVEXXY.” ECF No.

   111-9 at 4-5. A reasonable factfinder could credit this testimony in support of a

   finding that the marks are similar.

         Finally, the internal emails exchanged by Defendant’s employees in January

   of 2020 reveal their belief that the names were “too close” and “so similar” (ECF No.

   166-8 at 7-8) that they worried Defendant “might be back to the drawing board.” Id.

   Given these facts, which I must consider in the light most favorable to Plaintiff, I find

   that this factor weighs in Plaintiff’s favor.

         Similarity of Products

         “This factor requires a determination as to whether the products are the kind

   that the public attributes to a single source, not whether or not the purchasing public




   8 The FDA ultimately concluded that there were “sufficient differences” between the
   two marks based in part on their differing dosages and product strengths. A finder
   of fact might not place such a heavy emphasis on these characteristics in assessing
   likelihood of confusion.
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   can readily distinguish between the products of the respective parties.” Frehling, 192

   F.3d at 1338 (citing E. Remy Martin, 756 F.2d at 1530).

         Here, Plaintiff has demonstrated that there are sufficient similarities between

   the products such that a factfinder could determine that the public might reasonably

   attribute them to a single source. Even though the products’ marketing targets

   women in different stages of life, both products are prescribed to sexually active

   women by their OB/GYN’s; both products are applied vaginally and intended to

   address concerns regarding sexual intercourse. Moreover, viewing the facts in the

   light most favorable to Plaintiff, I must consider the declarations and testimony of

   Plaintiff’s pharmaceutical sales representatives who described instances where a

   prescriber or the office staff, believed that IMVEXXY and PHEXXI were products

   offered by the same company. See, e.g., Jordan Harwell Decl. (ECF No. 167-4);

   Tammy Czar Decl. (ECF No. 167-5); Jillian Brierley Decl. (ECF No. 167-6).

   Therefore, this factor weighs in Plaintiff’s favor.

         Similarity of Trade Channels and Customers

         “This factor takes into consideration where, how, and to whom the parties'

   products are sold.” Frehling, 192 F.3d at 1339. “Direct competition between the

   parties is not required for this factor to weigh in favor of a likelihood of confusion,

   though evidence that the products are sold in the same stores is certainly strong. The

   parties’ outlets and customer bases need not be identical, but some degree of overlap

   should be present.” Id. (internal citation omitted).




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          The evidence here is sufficient to demonstrate “some degree of overlap”

   between the two products.       Again, the products are prescribed by OB/GYN’s,

   dispensed by pharmacies, and used by sexually active women. The products are

   marketed by pharmaceutical sales representatives to OB/GYN’s who provide samples

   and prescriptions to their sexually active female patients. This factor weighs in

   Plaintiff’s favor.

          Similarity of Advertising Methods

          “As the heading suggests, ‘[t]his factor looks to each party’s method of

   advertising.’” Wreal, at *20 (quoting Frehling, 192 F.3d at 1339). Notably, Defendant

   does not address this factor in its response papers and so it appears that Defendant

   concedes that this factor weighs in Plaintiff’s favor.     Suffice it to say that both

   products are advertised via print, digital, samples, tele-sales, conferences, and

   meetings. ECF No. 166-1 at 16.

          Defendant’s Intent

          The court must determine whether the defendant “adopted a plaintiff’s mark

   with the intention of deriving a benefit from the plaintiff’s business reputation . . .”

   Frehling, 192 F.3d at 1340.        Plaintiff argues that Defendant “intentionally

   disregarded” warnings about the similarities between the two marks. Specifically,

   Plaintiff relies on (i) the internal emails by Defendant’s employees revealing concerns

   that the names were “too close,” (ii) the email from Defendant’s branding company

   acknowledging the similarities in the names, and (iii) the pre-suit communications

   from Plaintiff’s counsel regarding possible confusion between the two marks. ECF

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   No. 166-1 at 17. Defendant counters, without direct evidence, that its employees’

   emails reflect concerns that the FDA would not approve the PHEXXI name, but that

   these concerns disappeared once Defendant received FDA approval.

         At the summary judgment stage, I am precluded from considering Defendant’s

   explanation of its employees’ emails. I must view the evidence in the light most

   favorable to Plaintiff as the non-moving party. Nevertheless, even viewed in the light

   most favorable to Plaintiff, I do not find that the evidence is sufficient to show that

   Defendant’s chose to use the PHEXXI mark with the intent of deriving a benefit from

   Plaintiff’s business reputation. Although the evidence shows that Defendant was

   aware of the similarities between the two marks, the evidence also shows that there

   were reasonable grounds for Defendant to believe that its mark and product were

   sufficiently distinct from Plaintiff’s mark and product to negate any likelihood of

   confusion. See, e.g., the FDA’s approval and The Brand Institute’s opinion (ECF No.

   125-5; 166-4).

         Moreover, there is no objective evidence of Defendant’s intent to benefit from

   Plaintiff’s mark. The facts here are distinguishable from those in Frehling, where

   after the USPTO rejected the defendant’s trademark application because of the

   likelihood that it would be confused with the plaintiff’s mark, the defendant

   continued to use the mark and even adopted a toll-free number (1-800-OGGETTI)

   which “constitute[d] a direct replication” of the plaintiff’s mark. Id., 192 F.3d at 1340.

   The Eleventh Circuit found this to be “particularly indicative of improper intent.” Id.




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         Here, Defendant explained the origin of the PHEXXI mark and why it was

   specifically chosen. That explanation, which is undisputed, has nothing to do with

   the name being similar to IMVEXXY. Given that there is no evidence that Defendant

   intended to benefit from Plaintiff’s mark, this factor weighs in Defendant’s favor.

         Actual Confusion

         “[E]vidence of actual confusion is the best evidence of a likelihood of confusion.”

   Frehling, 192 F.3d at 1340 (citing John H. Harland Co., 711 F.2d at 978); see also

   Tana, 611 F.3d at 779 (“[A]ctual confusion in the consuming public, is the most

   persuasive evidence in assessing likelihood of confusion.”).

         Here, the parties dispute who is the relevant consumer. Plaintiff’s expert, Dr.

   Wind, surveyed prescribers and patients and concluded that “there is a high

   likelihood of confusion between PHEXXI and IMVEXXY.” Defendant’s expert, Dr.

   Neal, initially only surveyed pharmacists and found no evidence of confusion. Dr.

   Neal later surveyed prescribers and also found zero percent of them were likely to

   confuse the two brands.

         As an initial matter, I note that the parties’ differing views on who is the

   relevant consumer constitutes a disputed issue of a material fact, which precludes

   the entry of summary judgment. Were I to consider these conflicting expert opinions,

   I would be obligated to do so in the light most favorable to Plaintiff, and thus, I must

   accept Dr. Wind’s opinion that prescribers and patients are the relevant consumer

   groups and that there is a high likelihood that they would be confused. This finding

   also precludes the entry of summary judgment in Defendant’s favor.

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         Aside from the competing expert reports, Plaintiff has produced evidence of

   actual confusion by prescribers and their staff in the form of numerous declarations

   and depositions by Plaintiff’s pharmaceutical sales representatives.           These

   representatives detail interactions with assorted medical staff who did not appreciate

   the differences between IMVEXXY and PHEXXI in that they attributed the

   characteristics of one product (such as its purpose, efficacy, cost and insurance

   coverage) with the other product’s name; they also displayed confusion about the

   corporate origins of each product.    These sworn statements provide compelling

   evidence of actual confusion.

         Defendant makes a broad-sweeping argument that all of the depositions and

   declarations produced by Plaintiff’s pharmaceutical representatives should be

   deemed inadmissible hearsay. Notably, Defendant does not identify the specific

   statements that it contends are hearsay. A closer examination of the declarations

   demonstrates why Defendant’s overarching hearsay objection is flawed.

         For example, in the declaration of Erica Tague, she stated that she went to an

   OB/GYN office to drop off samples of Plaintiff’s products and a doctor asked her,

   “Could you tell me why my patients would pay $300 for IMVEXXY?” ECF No. 167-3

   ¶ 19. The doctor told the sales rep that her patient was in her 20’s and had health

   insurance. Id. at ¶ 21. These statements, neither of which are being introduced for

   the truth of the matter asserted, revealed to the sales rep that the doctor was




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   confusing IMVEXXY and PHEXXI because IMVEXXY is covered by insurance and is

   not typically prescribed to women in their twenties.9

         Similarly, the declaration of Tammy Czar states that when she went to a

   Women’s Care clinic, the receptionist pointed to some PHEXXI brochures and told

   the sales rep that one of her colleagues had recently visited. ECF No. 167-5 at ¶¶ 5,

   7, 8. Again, the receptionist’s statement is not being offered to prove the truth of the

   matter asserted, but to demonstrate confusion between the two products as witnessed

   by a sales rep.

         In other words, at least some of the sales representatives’ declarations and

   testimony do not constitute hearsay because they are based on firsthand

   observations, introduced to show the sales representative’s impression of her

   interaction with the doctor and/or staff, and are not offered to prove the truth of the

   matter asserted.10 As the Eleventh Circuit has held “the quantum of evidence needed

   to show actual confusion is relatively small.” Caliber Auto. Liquidators, Inc. v.

   Premier Chrysler, Jeep, Dodge, LLC, 605 F.3d 931, 937 (11th Cir. 2010) (citation

   omitted).

         Defendant argues that the declarations of the sales representatives only reveal

   “momentary and fleeting” confusion and thus do not demonstrate a likelihood of


   9The doctor’s confusion was later confirmed by a medical assistant in the office. ECF
   No. 167-3 ¶¶ 24, 25.

   10 My findings are in no way controlling over any evidentiary issues Judge Ruiz may
   rule on at trial, but simply to show that Plaintiff has offered at least some admissible
   evidence of actual confusion sufficient to defeat Defendant’s motion for summary
   judgment on Counts I-V.
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   confusion that would impact Plaintiff’s sales. ECF No. 112 at 19-20. I reject this

   argument because Defendant does not support its contention with any evidence in

   the record.

         Similarly, I reject Defendant’s reliance on a recent case where the court refused

   to consider evidence of customer confusion because the evidence presented was

   hearsay.      ECF No. 194.   In Unisource Discovery, Inc., the plaintiff’s CEO and

   operations manager stated that they began receiving calls and emails from their

   customers in Florida complaining that their orders had been lost because they had

   mistakenly sent their orders to the defendant’s company in California (with a nearly

   identical name) resulting in lost business for the plaintiff. The plaintiff attempted to

   introduce reports generated by the CEO “of what he perceived as customer

   complaints” to show evidence of customer confusion, but the court rejected the reports

   as inadmissible hearsay. Unisource Discovery, Inc. v. Unisource Discovery, LLC, No.

   20-23276-CIV, 2022 WL 457843, at *3 (S.D. Fla. Jan. 10, 2022), report and

   recommendation adopted, No. 1:20-CV-23276, 2022 WL 580443 (S.D. Fla. Feb. 25,

   2022). I find the facts in Unisource distinguishable from the facts here.

         In sum, I find that Plaintiff has produced sufficient evidence of actual

   confusion in the marketplace for this factor to weigh in Plaintiff’s favor. Given that

   six of the seven factors used to assess the likelihood of consumer confusion (including

   the two most important factors) weigh in Plaintiff’s favor, I find that Plaintiff has put

   forth evidence sufficient to defeat Defendant’s motion for summary judgment on

   Counts I-V.

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             2. Corrective Advertising Damages

         Defendant seeks summary judgment dismissing Plaintiff’s request for an

   award of corrective advertising damages, claiming that Plaintiff “does not allege a

   single lost sale or that [Defendant] has made a single penny from [Plaintiff’s

   IMVEXXY] mark.” ECF No. 112 at 22. According to Defendant, Plaintiff cannot

   recovery corrective advertising damages because the products at issue do not compete

   with each other.

         “In actions brought for infringement under the Lanham Act, damages consist

   of ‘(1) the defendant’s profits, (2) any damages sustained by the plaintiff and (3) the

   cost of the action,’ and include all elements of injury to the plaintiff’s business, such

   as the costs of corrective advertising or injury to business reputation or good will.” IT

   Strategies Grp., Inc. v. Allday Consulting Grp., L.L.C., 975 F. Supp. 2d 1267, 1279

   (S.D. Fla. 2013) (quoting Aronowitz v. Health–Chem Corp., 513 F.3d 1229, 1241 (11th

   Cir. 2008) (affirming corrective advertising damages award based on CFO’s

   estimation of costs to develop corrective website, running ads in trade publication,

   and attending industry trade shows to address confusion caused by website with

   infringing name)).

         Plaintiff claims that its damages include (i) diminution in the distinctiveness

   or strength of the IMVEXXY mark; (ii) confusion among healthcare providers; (iii)

   confusion among consumers; (iv) conflation of PHEXXI’s negative attributes with

   IMVEXXY which creates a false association; (v) loss of control of its branding

   message; (vi) unauthorized use of IMVEXXY and its associated goodwill by

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   Defendant’s sale’s representatives to gain access to healthcare providers; and (vii)

   interference with limited sales time to dispel confusion among healthcare providers.

   ECF No. 166-1 at 28. The record before me contains sufficient evidence to support

   these claimed damages and a reasonable factfinder could conclude that Plaintiff is

   entitled to damages to restore the value of its mark.

         Notably, Defendant does not cite any Eleventh Circuit case law for the

   proposition that evidence of lost sales is a prerequisite to an award of corrective

   advertising damages. Likewise, the Eleventh Circuit has not specifically limited

   recovery of corrective advertising damages to infringement involving competing

   products. Accordingly, I find that Defendant’s motion for summary judgment on

   Plaintiff’s claim for corrective advertising damages should be denied.

         I also reject Defendant’s claim that any corrective advertising damages award

   should be capped at $143,000. Defendant’s expert arrived at this calculation based

   on valuations listed in Plaintiff’s SEC filings, which Plaintiff argues have been

   misrepresented by Defendant’s expert. ECF No. 166-1 at 29. In a separate order on

   the parties’ Daubert motions, I recommended that Defendant be permitted to present

   its expert’s opinion to the finder of fact, and that Plaintiff be permitted to present the

   opinion of its expert, who unsurprisingly, suggests that a much larger damages award

   is warranted. The factfinder should decide which opinion to credit and how much, if

   any, damages are owed to Plaintiff.




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             3. Count VI of the FAC

         Count VI of the FAC seeks cancellation of Defendant’s ‘656 trademark based

   upon a purported fraud on the USPTO.               According to Plaintiff, Defendant’s

   application with the USPTO contained a Statement of Use signed by Defendant’s

   Deputy General Counsel, Stewart Brown, attesting that the PHEXXI “mark is in use

   in commerce on or in connection with all of the goods [listed]” and that “the mark was

   first used by the applicant . . . at least as early as 09/08/2020.” FAC ¶ 93. One of the

   “goods” listed was “pharmaceutical preparations, namely, microbicidal that creates

   an inhospitable environment for viral and bacterial pathogens.”           Id. at ¶ 97.

   According to Plaintiff, “at the time [Defendant] filed the Statement of Use, [it] was

   not using and had never used the PHEXXI Mark in commerce” for this purpose and

   that Mr. Brown knew this. Id. at ¶¶ 97, 100. Plaintiff contends that PHEXXI had

   only been approved by the FDA to be marketed as a vaginal gel for the prevention of

   pregnancy.   Id. at ¶ 98.   According to Plaintiff, Mr. Brown submitted the false

   Statement of Use to the USPTO “with the intent to procure a registration to which

   [Defendant] is not entitled.” Id. at ¶ 106. Plaintiff contends that Defendant only

   submitted certain sides of its product packaging to the USPTO, and intentionally

   omitted the side containing a disclaimer that PHEXXI does not protect against

   sexually transmitted diseases. Id. at ¶¶ 109, 111, 112.

         As noted above, the facts surrounding the purposes for which PHEXXI was

   being used at the time Defendant filed its application with the USPTO, as well as the

   basis for Mr. Brown’s knowledge and beliefs at the time he signed the Statement of

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   Use, remain very much in dispute, which preclude the entry of summary judgment.

   A person’s subjective intent is generally an issue of fact.      Moreover, courts are

   precluded from assessing a witness’s credibility at the summary judgment stage. In

   any event, I find that the record contains sufficient evidence such that a reasonable

   finder of fact could find in Plaintiff’s favor on Count VI and so Defendant’s motion for

   summary judgment on this count should be denied.

             4. Defendant’s Counterclaim

         Similarly, Defendant’s counterclaim seeking cancellation of Plaintiff’s mark for

   IMVEXXY is based on asserted uses stated in its trademark application with the

   USPTO. According to Defendant, Plaintiff’s Statement of Use to the USPTO differs

   from the FDA-approved uses for IMVEXXY because it does not treat all the symptoms

   of VVA. Def. SOF ¶¶ 53-55; Def. Resp. to PAF ¶ 87. Plaintiff counters that IMVEXXY

   treats all symptoms of VVA. Plaintiff’s SOF ¶ 34, Plaintiff’s Resp. to Def. SOF ¶ 54;

   PAF ¶ 87.

         As with Plaintiff’s claim seeking cancellation of a trademark, Defendant’s

   counterclaim involves disputed issues of fact and credibility determinations

   rendering it unsuitable for resolution on summary judgment. Given that Defendant

   has not affirmatively demonstrated the absence of a genuine issue of material fact,

   summary judgment on the counterclaim should be denied.




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         B. Plaintiff’s Motion for Partial Summary Judgment

         1. Defendant’s Affirmative Defenses

         Plaintiff moves for summary judgment on Defendant’s affirmative defenses for

   waiver, laches and estoppel (First Aff. Def.), invalidity of Plaintiff’s trademark

   registration due to abandonment (Second Aff. Def.), and unclean hands (Fourth Aff.

   Def.). ECF No. 110 at 11-12.

                a. First Affirmative Defense –waiver, laches and estoppel11

         Defendant’s First Affirmative Defense alleges that Plaintiff “unreasonably

   delayed in asserting some or all of is purported claims and unreasonably led

   [Defendant] to believe that it was acquiescing in or waiving its right to assert

   purported rights, thereby prejudicing [Defendant].” ECF No. 110 at 11. According to

   Defendant, this affirmative defense is based on the allegations in Paragraph 34 of the

   FAC and Defendant’s Answer, which state as follows:

         On or about May 28, 2020, [Plaintiff] contacted [Defendant] to discuss
         [Plaintiff’s] concerns regarding the likelihood of confusion between the
         IMVEXXY mark and the PHEXXI marks in connection with
         pharmaceutical drugs for women’s sexual and reproductive health.
         [Defendant] chose not to withdraw its proposed trademark applications
         and subsequently commercially launched its product under the PHEXXI
         mark.




   11  In its response papers, Defendants states that it “has elected not to proceed with
   its affirmative defenses of waiver, laches and acquiescence.” ECF No. 172-1 at 3, n.1.
   Defendant’s Answer did not specifically list acquiescence as an affirmative defense,
   nevertheless, this leaves only estoppel for this Court to address. In its reply, Plaintiff
   notes that Defendant’s Answer “has not been amended to formally remove these
   defenses” and so Plaintiff requests the entry of summary judgment on these now-
   abandoned affirmative defenses “to preclude a future revival” of them. ECF No. 188-
   1 at 6-7.
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   FAC at ¶ 34.

         [Defendant] [a]dmits that on or about May 28, 2020, counsel for
         [Plaintiff] contacted counsel for [Defendant], that [Defendant] denied
         the claims of infringement, and that [Plaintiff’s] counsel conveyed that
         no action would be taken at that time and that if [Plaintiff] determined
         the need to take action later, counsel would notify [Defendant] of that
         prior to taking any action. [Defendant] otherwise denies the allegations
         of Paragraph 34 of the FAC and notes that counsel never contacted
         [Defendant] again prior to bringing this action.

   Answer at ¶ 34.

         In its Statement of Material Facts, Plaintiff does not appear to dispute

   Defendant’s version of this communication between counsel, although neither

   attorney participating on the May 2020 call gave their deposition during discovery.

   ECF No. 128-1 at 12. Plaintiff’s Statements of Material Facts concedes the deposition

   testimony provided by Defendant’s Deputy General Counsel Stewart Brown:

         12. [Defendant] asserts, based on the May 28, 2020, phone call, that
         “[Mr. Fitzpatrick’s] understanding, as conveyed to me -- again, I wasn’t
         a party to this call -- [Mr. Fitzpatrick’s] understanding as conveyed to
         me was that the temperature of all of this was very low. [Plaintiff] was
         merely preserving its rights and if it should ever decide to sue us, it
         would contact us first and give us an opportunity to resolve it without
         litigation.” Ex. A, Brown Dep. Tr. at 179:7-10.

         13. [Defendant] asserts, based on the May 28, 2020 phone call, that
         “[Y]ou [Plaintiff] assured us [Defendant] that you wouldn’t [sue] without
         giving us a heads up. . . . A pre-filing heads up as was promised.” Ex. A,
         Brown Dep. Tr. at 180:2-9.

   Plaintiff’s SOF (ECF No. 128-2) ¶¶ 12, 13 (emphasis added). Defendant’s response

   includes some additional facts:

         12. Disputed. While [Defendant] does not dispute the accuracy of the
         quote, it disputes that the quote reflects the complete understanding of
         the parties. Indeed, Mr. Brown testified in response to the very next
         question that [Defendant] did not believe that it was “in any way likely”

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         that [Plaintiff] would file suit and that [Defendant] “didn’t expect to be
         sued by you guys” because “the case doesn’t have any merit.” Ex. 2,
         Excerpt of Deposition of Stewart Brown, dated May 28, 2021 (“Brown
         Dep. Tr.”), 179:12-180:5. The reasonableness of [Defendant’s]
         understanding of the May 2020 call and its reliance thereon is also
         evident from later confirmatory representations from [Plaintiff’s] own
         in-house counsel after the litigation was filed, but before it was served.
         Indeed, [Plaintiff’s] in-house counsel represented that they did not
         “think this case is very strong” and they “didn’t want to bring it,” but the
         “business people [were] making [them] do this.” Brown Dep. Tr. 170:20-
         25; 176:7-178:15 . . .

         13. Disputed. While [Defendant] does not dispute the accuracy of the
         quote, it disputes that the quote reflects the complete understanding of
         the parties. Indeed, the quote omits the portion of the response where
         Mr. Brown clarifies that part of the reason that [Defendant] did not
         believe that suit was likely is that “the case doesn’t have any merit.” Id.
         at 180:2-5.

   Def. Resp. to Plaintiff’s SOF (ECF No. 161) at ¶¶ 12, 13.

         Thus, Plaintiff asserts that even assuming Defendant’s version of the facts are

   true, they serve to establish that Plaintiff preserved its rights to bring an

   infringement lawsuit and therefore, there was no basis for Defendant to believe that

   Plaintiff was acquiescing or waiving its rights. Moreover, Plaintiff contends that it

   could not have filed its infringement lawsuit before PHEXXI’s September 2020

   launch, and that the three months between PHEXXI’s launch and Plaintiff’s filing of

   this lawsuit in December 2020, was not unreasonable. ECF No. 128-1 at 6, 16.

   Moreover, it is undisputed that Defendant received notice from the USPTO in October

   2020 that Plaintiff intended to oppose the PHEXXI trademark applications.

   Plaintiff’s SOF ¶¶ 19-21.

         In response, Defendant contends that the relevant time period is the seven

   months between the May 2020 phone call and the December 2020 filing of this

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   lawsuit, during which time Defendant “relied on [Plaintiff’s] representations” and

   made “significant investments in the PHEXXI brand, which it otherwise may not

   have made had it known that [Plaintiff] would bring this challenge.” ECF No. 172-1

   at 4.

           The elements of federal common law equitable estoppel are: “(1) the party to

   be estopped misrepresented material facts; (2) the party to be estopped was aware of

   the true facts; (3) the party to be estopped intended that the misrepresentation be

   acted on or had reason to believe the party asserting the estoppel would rely on it; (4)

   the party asserting the estoppel did not know, nor should it have known, the true

   facts; and (5) the party asserting the estoppel reasonably and detrimentally relied on

   the misrepresentation.” Dawkins v. Fulton Cty. Gov't, 733 F.3d 1084, 1089 (11th Cir.

   2013) (citation omitted).

           I find that there is no genuine dispute over these material facts, and that

   Defendant, as the non-moving party has not met its burden to show that a reasonable

   trier of fact could find in its favor on its First Affirmative Defense. Rather, I find as

   a matter of law that it was not reasonable for Defendant to rely upon Plaintiff’s

   statement that they would contact Defendant before any lawsuit was filed. The

   undisputed facts establish that Defendant understood in the May 2020 call that

   Plaintiff was preserving its right to file an infringement lawsuit. That Defendant

   may have expected a courtesy call before the lawsuit was filed would not have

   changed the fact of the lawsuit. Defendant has not put forth any evidence to show

   that it would have withheld investment in the PHEXXI brand or was considering

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   changing its product name during this time period to avoid a lawsuit but decided

   against these precautions based on Plaintiff’s assurances, thus, belying Defendant’s

   clam of prejudice. Accordingly, I find that Plaintiff is entitled to summary judgment

   in its favor on Defendant’s First Affirmative Defense.

                b. Second Affirmative Defense – invalidity of trademark registration due
                   to abandonment

         In its Answer, Defendant’s Second Affirmative Defense is as follows:

         TXMD’s claims are barred, in whole or in part, because its purported
         trademark registration is invalid, unenforceable, and subject to
         cancellation because TXMD abandoned any rights it had in the
         purported registration through non-use of the only good covered by that
         registration. The allegations set forth in the below Counterclaim are
         incorporated herein by reference.

   ECF No. 110 at 11.

         “The affirmative defense of abandonment requires a defendant to demonstrate

   that a trademark plaintiff no longer holds the rights to a mark.” Cumulus Media,

   Inc. v. Clear Channel Commc'ns, Inc., 304 F.3d 1167, 1173 (11th Cir. 2002).

   “Abandonment is trademark law’s way of recognizing that “[t]rademark rights flow

   from use.”   Id. (citation omitted).   Thus, a defendant must prove two separate

   elements to raise the defense of abandonment successfully: “that the plaintiff has

   ceased using the mark in dispute, and that he has done so with an intent not to

   resume its use.” Id.

         Like Defendant’s counterclaim, this affirmative defense stems from

   Defendant’s claim that Plaintiff’s Statement of Use to the USPTO differs from the

   FDA-approved uses for IMVEXXY because it does not treat all the symptoms of VVA.


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   Plaintiff counters that IMVEXXY treats all symptoms of VVA. Consistent with my

   ruling above, this affirmative defense involves disputed issues of material fact that

   preclude a disposition on summary judgment. Given the conflicting evidence on this

   subject, Plaintiff has not met its burden of showing the absence of a genuine issue of

   material fact and accordingly, summary judgment on Defendant’s Second Affirmative

   Defense should be denied.

                c. Fourth Affirmative Defense – unclean hands

         In asserting an unclean hands defense, a defendant must show that (1) the

   plaintiff’s wrongdoing is directly related to the claim, and (2) the defendant was

   personally injured by the wrongdoing. Bailey v. TitleMax of Georgia, Inc., 776 F.3d

   797, 801 (11th Cir. 2015) (citing Calloway v. Partners Nat. Health Plans, 986 F.2d

   446, 450–51 (11th Cir. 1993). “[C]ourts require the connection between the unclean-

   hands conduct and the matter in litigation to be very close.” Bowe v. Pub. Storage,

   No. 1:14-CV-21559-UU, 2015 WL 11233137, at *3 (S.D. Fla. June 26, 2015) (granting

   summary judgment to plaintiff on unclean hands defense because alleged

   misrepresentation was not directly related to the lawsuit). As one court put it, “we’re

   talking really directly related . . . [i]t is, in essence, the reason for the lawsuit.”

   Gastaldi v. Sunvest Resort Communities, LC, No. 08-62076-CIV, 2010 WL 457243, at

   *9 (S.D. Fla. Feb. 3, 2010) (emphasis in original).

         In its Answer, Defendant’s Fourth Affirmative Defense states as follows:

         TXMD’s claims are barred in whole or in part by TXMD’s unclean hands
         including that TXMD is pursuing these claims for improper purposes
         arising out personal animus and to stifle competition given TXMD’s
         entry into a market competitive with Evofem’s product. Tommy
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         Thompson, the current Chairman of the Board of TXMD, was previously
         ousted as the board chair of Evofem and blames the current CEO of
         Evofem, Saundra Pelletier. That animosity has motivated TXMD’s
         pursuit of this litigation. As well, Thompson had pushed TXMD to
         acquire a contraceptive product called Annovera, which Evofem had
         previously marketed but dropped from its product line. TXMD’s
         Annovera product currently competes with Evofem’s PHEXXI product.
         Fueled by Thompson’s animosity and a desire to harm Evofem’s
         business to gain a competitive advantage for its Annovera product,
         TXMD is pursuing this litigation with an improper ulterior motive and
         for anti-competitive purposes.

   ECF No. 110 at 12.

         In its responsive Statement of Facts, Defendant contends that

         Ms. Pelletier reasonably believes that TXMD brought this litigation at
         the behest of Evofem’s ousted chairman, and current TXMD board
         member, Tommy Thompson. Mr. Thompson was “extremely upset”
         following his ouster, and “blamed” Pelletier . . . [and that] he is the
         driving force behind this baseless litigation and that TXMD is using this
         baseless litigation solely as a means to stifle competition between
         PHEXXI and ANNOVERA (a drug for which no infringement is
         asserted).

   ECF No. 161 at 9-10.

         Thus, is appears that Plaintiff’s alleged wrongdoing is that it (1) acquired a

   contraceptive product that competes with PHEXXI and (2) brought this lawsuit for

   improper anti-competition purposes.

         As an initial matter, I find that Plaintiff’s acquisition of a competing

   contraceptive product, even if motivated by a “personal animus” that Plaintiff’s CEO

   felt towards Defendant’s CEO, cannot sustain an unclean hands defense. First,

   Plaintiff’s acquisition of a competing product does not constitute wrongdoing. Regions

   Bank v. Old Jupiter, LLC, No. 10-80188-CIV, 2010 WL 5148467, at *5 (S.D. Fla. Dec.

   13, 2010) (“‘unclean hands’ applies when a party seeking equitable relief has

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   committed an unconscionable act immediately related to the equity the party seeks

   in respect to the litigation”) (emphasis added) aff'd, 449 F. App'x 818 (11th Cir. 2011).

   Second, even if the alleged motivation for Plaintiff’s acquisition of a competing

   product is true, it is irrelevant and unrelated to this lawsuit, which seeks to

   determine whether the PHEXXI mark is confusingly similar to the IMVEXXY mark.

         As for Defendant’s allegation that this lawsuit was brought for anti-

   competition purposes, as opposed to a legitimate concern about the similarity of the

   PHEXXI and IMVEXXY marks, I find that is speculative, and that in any event, it

   rests on the faulty premise that this litigation is “baseless.” ECF No. 172-1 at 14.

   Given my analysis above and my recommendation that Defendant’s motion for

   summary judgment be denied, I must reject Defendant’s argument that Plaintiff’s

   trademark infringement lawsuit is frivolous. Summary judgment should be entered

   in Plaintiff’s favor on Defendant’s unclean hands affirmative defense.

         2.   Defendant’s Counterclaim

         Finally, Plaintiff seeks the entry of judgment in its favor on Defendant’s

   counterclaim which seeks cancellation of Plaintiff’s IMVEXXY mark due to

   abandonment/non-use. As noted above, this claim involves material facts that are in

   dispute and viewing those facts in the light most favorable to Defendant as the non-

   moving party, I find that Defendant has put forth sufficient facts such that a

   reasonable trier of fact could find in its favor on this counterclaim.




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                                     RECOMMENDATION

         WHEREFORE, I RECOMMEND as follows:

         1.     Defendant’s Motion for Summary Judgment (ECF No. 112) should be

   DENIED;

         2.     Plaintiff’s Motion for Partial Summary Judgment (ECF No. 128-1)

   should be GRANTED IN PART AND DENIED IN PART with judgment entered

   in Plaintiff’s favor on Defendant’s First and Fourth Affirmative Defenses; and

         3.     Plaintiff’s Motion to Strike Defendant’s Fourth Affirmative Defense

   (ECF No. 124) should be DENIED AS MOOT.

                           NOTICE OF RIGHT TO OBJECT

         A party shall serve and file written objections, if any, to this Report and

   Recommendation with the Honorable Rodolfo A. Ruiz, United States District Court

   Judge for the Southern District of Florida, within FOURTEEN (14) DAYS of being

   served with a copy of this Report and Recommendation. Failure to timely file

   objections shall constitute a waiver of a party's "right to challenge on appeal the

   district court’s order based on unobjected-to factual and legal conclusions." 11th Cir.

   R. 3-1 (2016).

         DONE AND SUBMITTED in Chambers this 29th day of March, 2022, at

   West Palm Beach in the Southern District of Florida.



                                           _____________________________
                                           BRUCE REINHART
                                           UNITED STATES MAGISTRATE JUDGE

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